Case 5:17-cv-01687-SMH-MLH Document 1-5 Filed 12/28/17 Page 1 of 2 PageID #: 20




                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                            SHREVEPORT DIVISION

 LORETTA MONK-WHITE and TIMOTHY                            CIVIL ACTION NO.
 MONK, each individually and on behalf of
 the Estate of their father, JESSIE MONK,
 deceased

 VERSUS                                                    JUDGE

 ARCADIA NURSING AND                                       MAGISTRATE JUDGE
 REHABILITATION CENTER, L.L.C.,
 db/a WILLOW RIDGE NURSING
 AND REHABILITATION CENTER, L.L.C.,
 DTD HC, L.L.C., AND D&N, L.L.C.

          CONTENTS OF STATE COURT RECORD AND LIST OF COUNSEL

         NOW COME Defendants, ARCADIA NURSING & REHABILITATION CENTER, L.L.C.
 d/b/a WILLOW RIDGE NURSING & REHABILITATION CENTER, DTD HC, L.L.C., and D&N,
 L.L.C., who, pursuant to Standing Order 1.73, state as follows:

       (A)   The attorneys involved in the case and the parties they represent are as follows:

             (1)    Georgia Kosmitis
                    3316 Line Avenue
                    Shreveport, LA 71104
                    ATTORNEY FOR PLAINTIFFS

             (2)    Ronald E. Raney
                    Ryan O. Goodwin
                    Lunn, Irion, Salley, Carlisle & Gardner
                    P. O. Box 1534
                    Shreveport, LA 71165-1534
                    ATTORNEYS FOR ARCADIA NURSING & REHABILITATION
                    CENTER, L.L.C. d/b/a WILLOW RIDGE NURSING & REHABILITATION
                    CENTER, DTD HC, L.L.C., and D&N, L.L.C.

       (B)   A copy of all records and proceedings occurring in the State Court prior to removal,
             arranged by order of filing date is attached hereto as “Exhibit 1"

                                             -11-
Case 5:17-cv-01687-SMH-MLH Document 1-5 Filed 12/28/17 Page 2 of 2 PageID #: 21




       ( C)   The following is a list of all documents included in the State Court record, arranged
              by order of filing date:

              1)     November 17, 2017 – Petition for Damages for Breach of Contract,
                     Wrongful Death and Survival Damages

              2)     December 28, 2017 – Notice of Removal

       (D)    Undersigned counsel certifies that the above constitutes the entire State Court record.

                                             Respectfully submitted,

                                             LUNN, IRION, SALLEY, CARLISLE & GARDNER


                                             BY: ______________________________________
                                                   RONALD E. RANEY, Bar Roll No. 8570
                                                   RYAN O. GOODWIN, Bar Roll No. 33857
                                                   P. O. Box 1534
                                                   Shreveport, Louisiana 71165-1534
                                                   Telephone: (318) 222-0665
                                                   Facsimile: (318) 220-3265
                                                   E-mail: rer@lunnirion.com
                                                           rog@lunnirion.com
                                                   ATTORNEYS FOR DEFENDANTS




                                               -12-
